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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 MARGARET NALLEY,
                                                   Case No. 21-cv-06180-VC
                Plaintiff,

         v.                                        ORDER ADOPTING MAGISTRATE
                                                   JUDGE'S REPORT AND
 ELIZABETH D. LAPORTE, et al.,                     RECOMMENDATION
                Defendant.                         Re: Dkt. No. 9




       The Court has reviewed Judge Thomas S. Hixson's Report and Recommendation and

notes there are no objections to the Report. The Court adopts the Report in every respect.

Accordingly, the case is dismissed without prejudice pursuant to Rule 41(b).

       IT IS SO ORDERED.

Dated: October 27, 2021

                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
